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                            IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS




UNITED STATES OF AMERICA,

                         Plaintiff,

v.                                                     Case No: 03-20051-05-JWL

PAULINE MACIAS (05),

                         Defendant.

                                                 ORDER

        On December 12, 2005 the defendant filed an application to proceed in forma pauperis

(doc. 441). Although she wrote “TENTH CIRCUIT” at the top of the form, she did not indicate

what relief, if any, she was seeking.      The motion is denied without prejudice because Ms. Macias

has failed to comply with the applicable statute and federal rule relating to proceeding in forma

pauperis. Specifically, 28 U.S.C. § 1915(a)(1) requires her to submit an affidavait “that includes

a statement of all assets such [person] possesses that the person is unable to pay such fees or give

security therefor. Such affidavit shall state the nature of the action, defense or appeal and affiant’s

belief that the person is entitled to redress.” See Lister v. Dep’t of Treasury, 408 F.3d 1309,

1312 (10 t h Cir. 2005). In addition, Federal Rule of Appellate Procedure 24(a)(1) requires that the

affidavit show not only Ms. Macias’ inability to pay and her claim of entitlement to redress but

also, “the issues that the party intends to present on appeal.”   See Fed. R. App. P. 24(a)(1). Ms.

Macias, then, may file her motion for leave to proceed in forma pauperis at the time she submits

an affidavit in compliance with these rules.
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       IT IS THEREFORE ORDERED BY THE COURT that Ms. Macias’ motion for leave to

proceed in forma pauperis (doc. 441) is denied without prejudice.

       IT IS SO ORDERED.

       Dated this 26TH day of May, 2006, at Kansas City, Kansas.

                                                        s/ John W. Lungstrum
                                                        John W. Lungstrum
                                                        United States District Judge




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